Case 2:00-cv-00556-MVL Document 13

CHERAMIE JOHNSON

VERSUS

TENNESSEE GAS PIPELINE

COMPANY

IT IS HEREBY ORDERED that Tennessee Gas Pipeline Company's

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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CIVIL ACTION

NO: 00-0556

ORDER AND REASONS

SECTION: "S" (2)

motion for summary judgment pursuant to Rule 56 of the Federal

Rules of Civil Procedure is GRANTED.

I. BACKGROUND

(Document #7.)

Cheramie Johnson alleges that she was injured on May 24,

1999, when she lifted and moved boxes of frozen waste aboard the

fixed platform known as Compressor Station 523A,

Johnson was

working as a steward pursuant to an “Alliance Agreement"

(agreement) for the performance of offshore catering and

janitorial services between her employer,

Management, Inc.

 

DATE OF ENTRY
JUN 0 1 2000

 

 

 

(Delta Catering or contractor),

Delta Catering

and El Paso

 
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Energy Corporation and its affiliates (El Paso or company). The
fixed platform contains quarters and equipment and is owned and
operated by Tennessee Gas Pipeline Company (Tennessee Gas) in the
marshes near Cocodrie, Louisiana. Tennessee Gas is an affiliate
of El Paso.

Johnson filed a complaint, alleging that she sustained
injuries as a result of Tennessee Gas's negligence in maintaining
hazardous premises, failing to exercise due care for her safety,
failing to remove boxes of frozen waste, and failing to provide a
safe work area. Tennessee Gas filed a motion for summary
judgment.

II. DISCUSSION
A. Summary judgment standard

Summary judgment is proper when, viewing the evidence in the

light most favorable to the non-movant, "there is no genuine
issue as to any material fact and .. . the moving party is
entitled to judgment as a matter of law." Amburgey v. Corhart

 

Refractories Corp., 936 F.2d 805, 809 (5th Cir. 1991); Fed.

R. Civ. P. 56(c). If the moving party meets the initial burden
of establishing that there is no genuine issue, the burden shifts
to the non-moving party to produce evidence of the existence of a
genuine issue for trial. Celotex Corp. v. Catrett, 106 S. Ct.

2948, 2552 (1986). The non-movant cannot satisfy its summary
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judgment burden with conclusory allegations, unsubstantiated
assertions, or only a scintilla of evidence. Little v. Liquid
Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc). A fact
is "material" if its resolution in favor of one party might
affect the outcome of the lawsuit. Anderson v. Liberty Lobby,
dInc., 106 S.Ct. 2505, 2510 (1986). An issue is "genuine" if the
evidence is sufficient for a reasonable jury to return a verdict
for the nonmoving party. Id. If the opposing party bears the
burden of proof at trial, the moving party does not have to
submit evidentiary documents to properly support its motion, but
need only point out the absence of evidence supporting the
essential elements of the opposing party's case. Saunders v.
Michelin Tire Corp., 942 F.2d 299, 301 (5th Cir. 1991).
B. Statutory employer

Tennessee Gas contends that it is Johnson's statutory
employer and that the sole remedy available to her under
Louisiana law is workers' compensation benefits. Tennessee Gas
argues that the exclusiveness of the remedy extends not only to
Delta Catering, her nominal employer, but to any principal that
falls within the role of statutory employer. Tennessee Gas
contends that it is a statutory employer because the agreement
between El Paso, Tennessee's affiliate, and Delta defined the

relationship and recognized El Paso and its affiliates as the
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statutory employer of Delta Catering's employees. Moreover,
Tennessee Gas argues that the offshore catering services are an
integral part of its operations and essential to its business.

Johnson asserts that she is not the statutory employer of
Tennessee Gas. She contends that she is an employee of Delta and
that the agreement with El Paso* and its affiliates specifically
states that Delta Catering is an independent contractor with full
responsibility for its employees.

Under the Louisiana Workers' Compensation Act, workers!
compensation benefits are the exclusive remedy of an employee
against the employer or any "principal" for injury, compensable
sickness, or disease. La. Rev. Stat. 23:1032(A) (1) (West 1998).
Principal is defined as "any person who undertakes to execute any
work which is a part of his trade, business, or occupation in
which he was engaged at the time of the injury, or which he had
contracted to perform and contracts with any person for the
execution thereof." La. Rev. Stat. 23:1032 (A) (b) (2). The 1997

amended version of section 1061 provides in relevant part:*

 

1 Johnson contends that Tennessee Gas is not a party to the

agreement with El Paso because the identity of the affiliates is
not disclosed. The undisputed affidavit of Larry Slowik, the
Area Manager of Tennessee Gas, establishes that Tennessee Gas is
an affiliate of El Paso.

2 The statute was amended by Acts 1997, No. 315, § 1,
effective June 17, 1997. The Act legislatively overruled the
statutory employer tests as set forth in the Supreme Court of

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A.(1) [W]hen any "principal" . . . undertakes to
execute any work, which is part of his trade, business,
or occupation and contracts with any person . . . for

the execution by or under the contractor of the whole
or any part of the work undertaken by the principal,
the principal, as a statutory employer, shall be
granted the exclusive remedy protections of R.S.
23:1032 . . . . #=For purposes of this Section, work
shall be considered part of the principal's trade,
business, or occupation if it is an integral part of or
essential to the ability of the principal to generate
that individual principal's goods, products, or
services.

(2) A statutory employer relationship shall exist
whenever the services or work provided by the immediate
employer is contemplated by or included in a contract
between the principal and any person or entity other
than the employee's immediate employer.

(3) Except in those instances covered by Paragraph
(2) of this Subsection, a statutory employer
relationship shall not exist between the principal and
the contractor's employees, whether they are direct
employees or statutory employees, unless there is a
written contract between the principal and a contractor
which is the employee's immediate employer or his
statutory employer, which recognizes the principal as a
statutory employer. When the contract recognizes a
statutory employer relationship, there shall be a
rebuttable presumption of a statutory employer
relationship between the principal and the contractor's
employees, whether direct or statutory employees. This
presumption may be overcome only by showing that the
work is not an integral part of or essential to the
ability of the principal to generate that individual
principal's goods, products, or services. (emphasis
added)

 

In this case, there was a written agreement between Delta

 

Louisiana's decisions in Berry v. Holston Well Service, Inc. 488
So.2d 934 (La. 1986), and Kirkland v. Riverwood International
USA, Inc., 681 So.2d 329 (La. 1996). See Jordan v. Central
Management Co., 745 So.2d 116, 122 (La. Ct. App. 1999).

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Catering and El Paso and its affiliates. Under article V of the
agreement, the contractor retained full authority as an
independent contractor to direct and control the work of its
employees. However, pursuant to an amendment to the agreement,
the company and the contractor agreed that the company was the
principal or statutory employer of the contractor's employees for
purposes of section 23:1061 (A) (3).3

Contrary to Johnson's argument, there is no conflict between
article V's designation of independent contractor and the
amendment to the agreement defining Tennessee Gas as a statutory
employer. "Even if a worker is found to be an independent
contractor, he may still be subject to the workers' compensation

laws if he is also determined to be a statutory employee under

Louisiana Revised Statutes 23:1032 or 23:1061." ee Salmon v.
Exxon Corp., 824 F.Supp. 81, 84 (M.D.La. 1993). Based on the

contract between Delta Catering and El Paso, there is a
rebuttable presumption of a statutory employer relationship which
Johnson must overcome by showing that the catering work is not an
integral part of or essential to Tennessee Gas's operation.

Johnson contends that the catering services are not part of

 

3° The parties also agreed that the contractor would remain

primarily responsible for the payment of Louisiana workers’
compensation benefits to its employees and would not be entitled
to seek contribution for any such payments from the company.

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Tennessee Gas's business of oil and gas production. She argues
that, although hiring a catering company is desirable, it is not
essential for the operation of defendant's platform because other
arrangements could have been made. Johnson is presumed by virtue
of the contract to be the statutory employee of Tennessee Gas,
and she does not provide any evidence to support her position
that the food service is not essential to the operation.

Further, she appears to concede that some arrangement to provide
food for the employees on the platform was necessary.

Tennessee Gas presents the affidavit of its area manager,
Larry Slowik, stating that Tennessee Gas is in the business of
operating the compressor station on a 24-hour basis. Slovik
asserts that, in order to conduct the operation, it is necessary

that Tennessee Gas provide food and housing for its workers.’

 

4 In Lindsey v. Chevron, 566 F.Supp. 1280, 1282-83 (E.D.

La. 1983) (pre-amendment case), the court applied the "integral
and necessary part of the regular trade, business, or occupation"
test and found that "provision for food and housekeeping is
integral and necessary to the operation of these [oil and gas]
production facilities." However, in Mack v. Tenneco Oil Co., 630
F.Supp 289, 291 (E.D. La. 1986) (pre-amendment case), the court
denied the defendant's motion for summary judgment on the
question whether the plaintiff who worked for a company that
contracted to cut grass and weeds at the Tenneco facility was a
statutory employee of Tenneco. The court concluded that Tenneco
was not in the trade, business, or occupation of grass cutting at
the time of the accident. The court did not rely on Lindsey,
stating that "[i]t appears that Lindsey has been impliedly
overruled" by Lewis v. Exxon Corporation, 441 So.2d 192 (La.
1983) (pre-amendment case). The version of the statute in force
at the time that Lewis was decided required that the work

 

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There are no disputed issues of material fact concerning
Tennessee Gas's need to provide food for its employers who are
housed on the fixed platform. Therefore, the court concludes
that the catering services provided by Johnson in particular and
Delta in general are essential to the ability of Tennessee Gas to
operate the compressor station on a 24-hour basis. Accordingly,
in view of the written contract recognizing Tennessee Gas as a
statutory employer and Johnson's failure to overcome the
presumption of a statutory employer, the sole remedy available to

Johnson under Louisiana law is workers' compensation benefits.

New Orleans, Louisiana, this / day of June, 2000.

oh MARY ANN VIAE’ LEMMON
NITED STATES DISTRICT JUDGE

  

 

performed by the employee be part of the principal's trade,
business, or occupation and that the principal must have been
engaged in that trade, business, or occupation at the time of the
injury. Id. at 197. The court held that Exxon was not in the
business of major plant construction and that this work was not
customarily done by Exxon. Id. at 199. Therefore, Exxon was not
the statutory employer of the injured employee of the contractor.

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